  Case 8:20-cr-00033-TDC Document 71 Filed 03/18/20 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                    (Southern Division)


UNITED STATES OF AMERICA                      *

VS.                                           *      CASE NO. TDC 20-00033

WILLIAM GARFIELD BILBROUGH, IV *
REPLY TO GOVERNMENT’S OPPOSITION TO MOTION TO REVIEW DETENTION
            ORDER AND ORDER RELEASE OF DEFENDANT

       The Defendant by and through his attorneys, Robert C. Bonsib, Esq. and Megan E.

Coleman, Esq., respectfully submits this Reply to the Government’s Opposition to the

Defendant’s Motion to Review Detention Order and Order Release of the Defendant and, as

reasons in furtherance thereof, states as follows:

   1. The Government’s Response fails to address the specific personal circumstances present

       in the Defendant’s case. The government raises the specter of a mass release of individuals

       from confinement and seeks to minimize the risk to the Defendant of being in a confined

       location with a medical condition that cannot be disputed puts him in a high risk category

       should he be exposed to the Coronavirus.

   2. Interestingly governors are ordering the closure of restaurants, bars, movie theaters and

       gyms because of the concern that healthy people will be exposed to the virus.     Areas of

       the United States are essentially on lockdown because of the fear of the virus.

   3. The government casually says that there have been no confirmed cases of the virus at CTF,

       yet one only need watch any news show or read any newspaper or listen to a radio broadcast

       to know that “those in the know” in the government and, in particular, in public health

       agencies are providing dire predictions of what is going to occur in the next few weeks

       regarding the spread of the virus. They speak not in terms of “if” but rather in terms of
  Case 8:20-cr-00033-TDC Document 71 Filed 03/18/20 Page 2 of 3



       “when” and not in terms of how few people will became infected – but rather they assure

       us that large numbers of individuals will be infected – it only whether the numbers will be

       large, very large, massive or catastrophic.

   4. William Bilbrough is a young man with no prior record. Hel charged with a non-violent

       crime. He has a medical condition that requires him to wear a diabetic insulin pump. He

       has no where to go – particularly now that he needs to be extraordinarily careful about

       those with whom he as contact.      The government says no virus in CTF yet. Great! So

       what does the government propose to do and to what degree will they assume responsibility

       when Bilbrough comes down with the virus. I’m sorry won’t cut it. This is a time of

       crisis. It is a time when the government is taking extraordinary steps to protect its people.

       It is also a time for the judicial system to recognize that the health of this young man should

       take priority.

   5. The Pretrial Services Office is set up to monitor Bilbrough. To suggest that his release will

       somehow overburden that agency is false. Bilbrough is not charged with murder, drug

       distribution, use of weapons in criminal activity. He is charged with being in car,

       sometimes as a passenger, occasionally driving someone else’s car, in which an individual

       who was not authorized to be in the United States was a passenger. He is charged with

       engaging in such conduct over a just a couple of days. To risk his health and perhaps his

       life is simply not necessary nor reasonable under these unusual circumstances.

       WHEREFORE it is respectfully requested that this Honorable Court vacate the detention

Order in this matter and to set appropriate conditions of release.




                                                 2
    Case 8:20-cr-00033-TDC Document 71 Filed 03/18/20 Page 3 of 3



                                      Respectfully submitted,

                                      MARCUSBONSIB, LLC

                                      /s/ Robert C. Bonsib
                                      ____________________________
                                      ROBERT C. BONSIB, ESQ.
                                      64ll Ivy Lane, Suite ll6
                                      Greenbelt, Maryland 20770
                                      robertbonsib@marcusbonsib.com
                                      (30l) 44l-3000
                                      Trial Bar No. 00324

                                      /s/ Megan E. Coleman
                                      ____________________________
                                      MEGAN E. COLEMAN, ESQ.
`                                     64ll Ivy Lane, Suite ll6
                                      Greenbelt, Maryland 20770
                                      robertbonsib@marcusbonsib.com
                                      (30l) 44l-3000
                                      Trial Bar No. 17552




                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing motion was filed, via ECF, this 18th day

of March, 2020 to all parties of record.

                                      /s/ Robert C. Bonsib
                                      ____________________________
                                      ROBERT C. BONSIB




                                                3
